
699 S.E.2d 522 (2010)
57 Va. App. 163
David L. FOLTZ, Jr., s/k/a David Lee Foltz, Jr., Appellant,
v.
COMMONWEALTH of Virginia, Appellee.
Record No. 0521-09-4.
Court of Appeals of Virginia.
September 23, 2010.
Walter S. FELTON, JR., C.J., Larry G. ELDER, Robert P. FRANK, Robert J. HUMPHREYS, D. Arthur KELSEY, Elizabeth A. McCLANAHAN, James W. HALEY, JR., William G. PETTY, Randolph A. BEALES, Cleo E. POWELL, Rossie D. ALSTON, JR., JJ.
Pursuant to Code § 17.1-402(D)(ii), the Court, on its own motion, has decided to hear this case en banc. The parties shall file briefs in compliance with Rule 5A:35(b). It is further ordered that the appellant shall file twelve additional copies of the appendix previously filed in this case.
In accordance therewith, the mandate entered herein on September 7, 2010 is stayed pending the decision of the Court en banc and the appeal is reinstated on the docket of this Court.
